2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 1 of 64

Message

From: Boyd.Wyatt@epa.gov [Boyd.Wyatt@epa.gov]

Sent: 1/23/2025 7:41:11 PM

To: Lane, Gary [Lane.Gary@epa.gov]; Wang, Lili [Wang.Lili@epa.gov]

cc: Henry, Latonya [Henry.Latonya@epa.gov]; Katz, Brian [Katz.Brian@epa.gov]
Subject: Re: Notes (closehold)

Gary,

Gregg just said note will go out tomorrow so please be ready. Excludes pay, WCF and OIG

Sent from my iPhone

On Jan 23, 2025, at 12:02 PM, Boyd, Wyatt <Boyd.Wyatt@epa.gov> wrote:

At this time that’s what was discussed yes

From: Lane, Gary <Lane.Gary@epa.gov>

Sent: Thursday, January 23, 2025 12:02 PM

To: Boyd, Wyatt <Boyd.Wyatt @epa.gov>; Monson, CJ <Monson.CJ@epa.gov>; Wang, Lili <Wang.Lili@epa.gov>
Cc: Henry, Latonya <Henry.Latonya@epa.gov>; Katz, Brian <Katz.Brian@epa.gov>

Subject: RE: Notes (closehold)

CUI//SP-BUDG

Is it correct to assume the EJ pause will exempt WCF and Payroll?

Controlled by U.S. Environmental Protection Agency

From: Boyd, Wyatt <Boyd.Wyatt@epa.gov>

Sent: Thursday, January 23, 2025 11:48 AM

To: Monson, CJ <Monson.CJ@epa.gov>; Wang, Lili <Wang.Lili@epa.gov>; Lane, Gary <Lane.Gary@epa.gov>
Cc: Henry, Latonya <Henry.Latonya@epa.gov>; Katz, Brian <Katz.Brian@epa.gov>

Subject: RE: Notes (closehold)

CUI//SP-BUDG

All sections

Controlled by U.S. Environmental Protection Agency

From: Monson, CJ <Monson.C) @epa.gov>
Sent: Thursday, January 23, 2025 11:33 AM

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 2 of 64

To: Wang, Lili <Wang.Lili@epa.gov>; Lane, Gary <Lane.Gary@epa.gov>
Ce: Henry, Latonya <Henry.Latonya@epa.gov>; Boyd, Wyatt <Boyd.Wyatt@epa.gov>; Katz, Brian <Katz.Brian@epa.gov>
Subject: RE: Notes (closehold)

CUI//SP-BUDG
Lili,

Do you want that data for all of the lines or just in the instances where we indicated a “Yes”?

Controlled by U.S. Environmental Protection Agency

From: Wang, Lili <Wang.Lili@epa.gov>

Sent: Thursday, January 23, 2025 11:21 AM

To: Lane, Gary <Lane.Gary@epa.gov>; Monson, CJ <Monson.CJ @epa.gov>

Ce: Henry, Latonya <Henry.Latonya@epa.gov>; Boyd, Wyatt <Boyd.Wyatt@epa.gov>; Katz, Brian <Katz.Brian@epa.gov>
Subject: RE: Notes (closehold)

CUI//SP-BUDG

@Monson, CJ

1. Please add columns to it for EBFY, current unobligated balances (Check with Gary on this), and current
FTE utilization for each section

Here is the link to the file:

<image001.png>
IJA IRA EO _ v1.xlsx

Thanks,

Controlled by U.S. Environmental Protection Agency

From: Boyd, Wyatt <Boyd.Wyatt@epa.gov>

Sent: Thursday, January 23, 2025 10:53 AM

To: Henry, Latonya <Henry.Latonya@epa.gov>; Lane, Gary <Lane.Gary@epa.gov>; Wang, Lili <Wang.Lili@epa.gov>; Katz,
Brian <Katz.Brian@epa.gov>

Cc: Robinson, Angel <robinson.angel@epa.gov>

Subject: Notes (closehold)

CUI//SP-BUDG

Readout from meeting with Gregg and Lek this morning —

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Ds OB should be prepared to issue the pause message tomorrow. BECD please be prepared to work with CGI to
execute the Compass “lock” for non-pay and non-WCF tomorrow morning.

1. We are awaiting the direction to do this

3. They found the IRA and IIJA section by section document very helpful

1. Please add columns to it for EBFY, current unobligated balances, and current FTE utilization for each
section

4, We also will need to be prepared to lock non-pay in the EJ program project when directed

Please let me know any questions, we can also discuss at the OB meeting later today.
Wyatt Boyd

Deputy Director, Office of Budget

Office of the Chief Financial Officer

Desk: 202.564.8503 | Mobile: 202.945.7495 | E: boyd.wyatt@epa.qov |
4443A WIC-N Washington, D.C.

<image002.png>

Controlled by U.S. Environmental Protection Agency

EPA_00000007
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 4 of 64

Message

From: Boyd, Wyatt [Boyd.Wyatt@epa.gov]

Sent: 2/13/2025 10:17:02 PM

To: Talbert-Duarte, Angelia [talbert-duarte.angelia@epa.gov]; Robinson, Angel [robinson.angel@epa.gov]
Subject: Re: Additional Information on IUA and IRA - program review pause

Get Outlook for iOS

From: Talbert-Duarte, Angelia <talbert-duarte.angelia@epa.gov>

Sent: Thursday, February 13, 2025 5:08:50 PM

To: Robinson, Angel <robinson.angel@epa.gov>; Boyd, Wyatt <Boyd.Wyatt @epa.gov>
Subject: FW: Additional Information on IA and IRA - program review pause

Hi Angel and Wyatt,

We are working on responding to an ask from DOJ related to the TRO which is on a fast

track. As | understand the message below, disbursements from obligations already made from
the accounts listed in the 2/7/2025 email (except GGRF) will be released for payment but no
new obligations pending further review. Is this correct?

Thanks for your help.

Angelia Talbert-Duarte

Associate General Counsel

Civil Rights and Finance Law Office
U.S. Environmental Protection Agency
Phone — (202) 564-8158

Fax — (202) 564-5432

Please note that | may have sent this communication outside regular business hours. If you receive this email outside of your
normal working hours, please know that | do not expect a response until you are back at work during your normal hours.

From: Budget and Planning <Budget_and_Planning@epa.gov>

Sent: Thursday, February 13, 2025 3:31 PM

To: Budget and Planning <Budget_and_Planning@epa.gov>; OCFO-SBO <OCFOSBO@epa.gov>; OCFO-SBO-STAFF
<OCFOSBOSTAFF @epa.gov>; OCFO-Regional-Comptroller <OCFORegionalComptroller@epa.gov>; OCFO-Regional
Budget Officers <OCFORegional_ Budget_Officers@epa.gov>; OCFO-SROs <OCFO_SROs@epa.gov>; Regional Mission
Support Division - Directors <Regional_Mission_Support_Division_Directors@epa.gov>; Regional Mission Support
Division - Directors <Regional_Mission_Support_Division_Directors@epa.gov>; OCFO-FCOs <OCFO-FCOs@epa.gov>;
Leadership_Deputy_Regional_ Administrators <Leadership_Deputy_Regional_ Administrators@epa.gov>;
Leadership_Deputy_Assistant_Administrators <Leadership_Deputy_Assistant_Administrators@epa.gov>

Cc: Wise, Melissa <wise.melissa@epa.gov>; Legare, Pamela <Legare.Pamela@epa.gov>; Rogers, JoanB
<Rogers.JoanB@epa.gov>; Coogan, Daniel <Coogan.Daniel@epa.gov>; Kalikhman, Yulia <kalikhman.yulia@epa.gov>;
Gulamali, Adil <Gulamali.Adil@epa.gov>; Lavergne, Dany <lavergne.dany@epa.gov>; Miller, Renee
<Miller.Renee@epa.gov>; Jennette, Vonda <Jennette.Vonda@epa.gov>; Luebbering, Gregory

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 5 of 64

<luebbering.gregory@epa.gov>; Henry, Latonya <Henry.Latonya@epa.gov>; Talbert-Duarte, Angelia <talbert-
duarte.angelia@epa.gov>; Goerke, Ariadne <Goerke.Ariadne@epa.gov>; Askew, Wendel <Askew.Wendel@epa.gov>;
Holden, Allison <Holden.Allison@epa.gov>; Kadeli, Lek <Kadeli.Lek@epa.gov>; Jones-Peeler, Meshell <Jones-
Peeler.Meshell@epa.gov>; Lane, Gary <Lane.Gary@epa.gov>; Robinson, Angel <robinson.angel@epa.gov>; Katz, Brian
<Katz.Brian@epa.gov>; Cardenas, Andrew <Cardenas.Andrew@epa.gov>; Li, Sylvana <li.sylvana@epa.gov>; Beg, Gul
<Beg.Gul@epa.gov>; Cottrill, Edward <Cottrill.Edward@epa.gov>; Hurley, Kevin <Hurley.Kevin@epa.gov>; Humes,
Hamilton <Humes.Hamilton@epa.gov>; Wang, Lili <Wang.Lili@epa.gov>

Subject: RE: Additional Information on INA and IRA - program review pause

Importance: High

Sharing another update as the program review proceeds.

Obligations from EPA already made as of 3 PM EST today can be released for payment. The agency will
continue robust oversight of these funds and take appropriate action if any of them are found to be used
outside of the terms and conditions of their agreements.

Note this excludes the Greenhouse Gas Reduction Fund.

From: Budget and Planning <Budget and Planning@epa.gov>

Sent: Friday, February 7, 2025 6:04 PM

To: Budget and Planning <Budget and Planning@epa.gov>; OCFO-SBO <OCFOSBO @epa.gov>; OCFO-SBO-STAFF
<OCFOSBOSTAFF@epa.gov>; OCFO-Regional-Comptroller <OCFORegionalCompiroller@epa.gov>; OCFO-Regional
Budget Officers <OCFORegional Budget Officers@epa.gov>; OCFO-SROs <OCFO SROs@epa.gov>; Regional Mission
Support Division - Directors <Regional Mission Support Division Directors@epa.gov>; Regional Mission Support
Division - Directors <Regional Mission Support Division Directors@epa.gov>; OCFO-FCOs <OCFO-FCOs@epa.gov>
Ce: Wise, Melissa <wise.melissa@epa.gov>; Legare, Pamela <Legare.Pamela@epa.gov>; Rogers, JoanB
<Rogers.JoanB@epa.gov>; Coogan, Daniel <Coogan.Daniel@epa.gov>; Kalikhman, Yulia <kalikhman.yulia@epa.gov>;
Gulamali, Adil <Gulamali.Adil@epa.gov>; Lavergne, Dany <lavergne.dany@epa.gov>; Miller, Renee
<Miller.Renee@epa.gov>; Jennette, Vonda <Jennette.Vonda@epa.gov>; Luebbering, Gregory
<luebbering.gregory@epa.gov>; Henry, Latonya <Henry.Latonya@epa.gov>; Talbert-Duarte, Angelia <talbert-
duarte.angelia@epa.gov>; Goerke, Ariadne <Goerke.Ariadne@ epa.gov>; Askew, Wendel <Askew.Wendel@epa.gov>;
Holden, Allison <Holden.Allison@epa.gov>; Kadeli, Lek <Kadeli.Lek@epa.gov>; Jones-Peeler, Meshell <Jones-
Peeler.Meshell@epa.gov>; Lane, Gary <Lane.Gary@epa.gov>; Robinson, Angel <robinson.angel@epa.gov>; Boyd, Wyatt
<Boyd.Wyatt@epa.gov>; Katz, Brian <Katz.Brian@epa.gov>; Cardenas, Andrew <Cardenas.Andrew@epa.gov>; Li,
Sylvana <li.sylvana@epa.gov>; Beg, Gul <Beg.Gul@epa.gov>; Cottrill, Edward <Cottrill.Edward@epa.gov>

Subject: RE: Additional Information on INA and IRA - program review pause

Pursuant to the review of financial assistance programs announced by the Acting Deputy Administrator on
February 6, the following accounts are temporarily paused for new obligations or disbursements for
assistance agreements, loans, rebates, interagency agreements, procurements, and no-cost actions pending a
review for compliance with applicable administrative rules and policies.

Air Quality Sensors in Low Income and Disadvantaged Communities (OAR) (STAG)
Clean Heavy-Duty Vehicles (OAR) (STAG)

Clean Heavy-Duty Vehicles in Nonattainment Areas (OAR) (STAG)

Clean School Bus Program (STAG)

Competitive Grants (OAR) (STAG)

Diesel Emissions Reductions (OAR) (STAG)

Emissions from Wood Heaters (OAR/ORD) (STAG)

Environmental and Climate Justice Block Grants — Technical Assistance (OEJECR)
Environmental and Climate Justice Block Grants (OEJECR)

Environmental Product Declaration Assistance (OCSPP/ORD/OAR)

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Fenceline Air Monitoring and Screening Air Monitoring (OAR/ORD) (STAG)

Funding for the Implementation of the American Innovation and Manufacturing Act (OAR)
Funding for Section 211 of the Clean Air Act — Advanced Biofuels (OAR)

GHG Air Pollution Implementation Grants (OAR) (STAG)

GHG and Zero Emission Standards for Mobile Sources (OAR) (STAG)

GHG Pollution Planning Grants (OAR) (STAG)

Grants to Reduce Air Pollution at Ports (OAR) (STAG)

Grants to Reduce Air Pollution at Ports in Nonattainment Areas (OAR) (STAG)

Greenhouse Gas Corporate Reporting (OAR) (STAG)

Greenhouse Gas Reduction Fund — General Assistance (OA) (STAG)

Greenhouse Gas Reduction Fund — Low Income and Disadvantaged Communities (OA) (STAG)
Greenhouse Gas Reduction Fund — Zero Emision Technologies (OA) (STAG)

Implementation / Accountability (OAR)

Implementation and Compliance (OECA)

Industry Outreach (OAR)

Low Embodied Carbon Labeling for Construction Materials for Transportation Methane Monitoring (OCSPP/OAR/ORD)
Multipollutant Monitoring Stations (OAR) (STAG)

State/Tribal/Local Government Outreach (OAR)

Technical Assistance for Low Income Communities (OAR)

From: Budget and Planning <Budget and Planning@epa.gov>

Sent: Friday, February 7, 2025 11:29 AM

To: Budget and Planning <Budget and Planning@epa.gov>; OCFO-SBO <OCFOSBO @epa.gov>; OCFO-SBO-STAFF
<OCFOSBOSTAFF@epa.gov>; OCFO-Regional-Comptroller <OCFORegionalComptroller@epa.gov>; OCFO-Regional
Budget Officers <OCFORegional Budget Officers@epa.gov>; OCFO-SROs <OCFO SROs@epa.gov>; Regional Mission
Support Division - Directors <Regional Mission Support Division Directors@epa.gov>; Regional Mission Support
Division - Directors <Regional Mission Support Division Directors@epa.gov>; OCFO-FCOs <OCFO-FCOs@epa.gov>
Cc: Wise, Melissa <wise.melissa@epa.gov>; Legare, Pamela <Legare.Pamela@epa.gov>; Rogers, JoanB
<Rogers.JoanB@epa.gov>; Coogan, Daniel <Coogan.Daniel@epa.gov>; Kalikhman, Yulia <kalikhman.yulia@epa.gov>;
Gulamali, Adil <Gulamali.Adil@epa.gov>; Lavergne, Dany <lavergne.dany@epa.gov>; Miller, Renee
<Miller.Renee@epa.gov>; Jennette, Vonda <Jennette.Vonda@epa.gov>; Luebbering, Gregory
<luebbering.gregory@epa.gov>; OCFO-OB-ALL. <OCFO-OB-ALL_x@epa.gov>; Talbert-Duarte, Angelia <talbert-
duarte.angelia@epa.gov>; Goerke, Ariadne <Goerke.Ariadne@ epa.gov>; Askew, Wendel <Askew.Wendel@epa.gov>;
Holden, Allison <Holden.Allison@epa.gov>

Subject: RE: Additional Information on INA and IRA

We are working expeditiously to carry out the attached and request your assistance where appropriate.

(excerpt)

Notwithstanding this directive, any disbursements on open grant awards that were paused due to
Office of Management and Budget Memorandum M-25-13 or any Executive Order underlying

that Memorandum shall continue to be immediately released, as the Agency initiated on
February 3, 2025.

From: Budget and Planning <Budget_and Planning@epa.gov>

Sent: Wednesday, February 5, 2025 11:00 AM

To: Budget and Planning <Budget and Planning@epa.gov>; OCFO-SBO <OCFOSBO @epa.gov>; OCFO-SBO-STAFF
<OCFOSBOSTAFF@epa.gov>; OCFO-Regional-Comptroller <OCFORegionalComptroller@epa.gov>; OCFO-Regional
Budget Officers <OCFORegional Budget Officers@epa.gov>; OCFO-SROs <OCFO SROs@epa.gov>; Regional Mission
Support Division - Directors <Regional Mission Support Division Directors@epa.gov>; Regional Mission Support
Division - Directors <Regional Mission Support Division Directors@epa.gov>; OCFO-FCOs <OCFO-FCOs@epa.gov>

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 7 of 64

Ce: Wise, Melissa <wise.melissa@epa.gov>; Legare, Pamela <Legare.Pamela@epa.gov>; Rogers, JoanB
<Rogers.JoanB@epa.gov>; Coogan, Daniel <Coogan.Daniel@epa.gov>; Kalikhman, Yulia <kalikhman.yulia@epa.gov>;
Gulamali, Adil <Gulamali.Adil@epa.gov>; Lavergne, Dany <lavergne.dany@epa.gov>; Miller, Renee
<Miller.Renee@epa.gov>; Jennette, Vonda <Jennette.Vonda@epa.gov>; Luebbering, Gregory
<luebbering.gregory@epa.gov>; OCFO-OB-ALL. <OCFO-OB-ALL x@epa.gov>; Talbert-Duarte, Angelia <talbert-
duarte.angelia@epa.gov>; Goerke, Ariadne <Goerke.Ariadne@ epa.gov>; Askew, Wendel <Askew.Wendel@epa.gov>;
Holden, Allison <Holden.Allison@epa.gov>

Subject: RE: Additional Information on IIA and IRA

Clarifying the compound sentence in the original message.

Consistent with Court Order, obligations and disbursements to carry out all necessary work can proceed
for:

° federal financial assistance;
° Superfund;
° and the accounts (originally) attached.

Note that thousands of accounts are involved and this is a manual process.

From: Budget and Planning <Budget and Planning@epa.gov>

Sent: Tuesday, February 4, 2025 1:46 PM

To: OCFO-SBO <OCFOSBO @epa.gov>; OCFO-SBO-STAFF <OCFOSBOSTAFF@epa.gov>; OCFO-Regional-Comptroller
<OCFORegionalComptroller@epa.gov>; OCFO-Regional Budget Officers <OCFORegional Budget Officers@epa.gov>;
OCFO-SROs <OCFO SROs@epa.gov>; Regional Mission Support Division - Directors

<Regional Mission Support Division Directors@epa.gov>; Regional Mission Support Division - Directors

<Regional Mission Support Division Directors@epa.gov>; OCFO-FCOs <OCFO-FCOs@epa.gov>

Cc: Wise, Melissa <wise.melissa@epa.gov>; Legare, Pamela <Legare.Pamela@epa.gov>; Rogers, JoanB
<Rogers.JoanB@epa.gov>; Coogan, Daniel <Coogan.Daniel@epa.gov>; Kalikhman, Yulia <kalikhman.yulia@epa.gov>;
Gulamali, Adil <Gulamali.Adil@epa.gov>; Lavergne, Dany <lavergne.dany@epa.gov>; Miller, Renee
<Miller.Renee@epa.gov>; Jennette, Vonda <Jennette.Vonda@epa.gov>; Luebbering, Gregory
<luebbering.gregory@epa.gov>; OCFO-OB-ALL. <OCFO-OB-ALL x@epa.gov>; Talbert-Duarte, Angelia <talbert-
duarte.angelia@epa.gov>; Goerke, Ariadne <Goerke.Ariadne@ epa.gov>; Askew, Wendel <Askew.Wendel@epa.gov>;
Holden, Allison <Holden.Allison@epa.gov>

Subject: Additional Information on INA and IRA

Importance: High

This message provides additional detail to the attached message from the Acting Chief Financial Officer.
Consistent with Court Order, obligations and disbursements to carry out all necessary work can proceed for
all federal financial assistance, including cooperative assistance agreements, all Superfund, and the

accounts attached.

We will continue to keep the community updated as we implement Orders. Please note that effectuation in
agency systems is occurring and requires sequencing.

Please share this information within EPA as necessary to execute.

EPA_00000030
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 8 of 64

Message

From: Budget and Planning [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=595FBB7A72C7453EB3A0EBODDB8E6081-BUDGET AND]

To: OCFO-SBO [OCFOSBO @epa.gov]; OCFO-SBO-STAFF [OCFOSBOSTAFF@epa.gov]; OCFO-Regional-Comptroller

[OCFORegionalComptroller@epa.gov]; OCFO-Regional Budget Officers [OCFORegional_Budget_Officers@epa.gov];
OCFO-SROs [OCFO_SROs@epa.gov]; Regional Mission Support Division - Directors
[Regional_Mission_Support_Division_Directors@epa.gov]; Regional Mission Support Division - Directors
[Regional_Mission_Support_Division_Directors@epa.gov]; OCFO-FCOs [OCFO-FCOs@epa.gov]

cc: Wise, Melissa [wise.melissa@epa.gov]; Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB
[Rogers.JoanB@epa.gov]; Coogan, Daniel [Coogan.Daniel@epa.gov]; Kaliknman, Yulia [KalikhmanYulia@epa.gov];
Gulamali, Adil [Gulamali.Adil@epa.gov]; Lavergne, Dany [lavergne.dany@epa.gov]; Miller, Renee
[Miller.Renee@epa.gov]; Jennette, Vonda [Jennette. Vonda@epa.gov]; Luebbering, Gregory
{luebbering.gregory@epa.gov]; OCFO-OB-ALL. [OCFO-OB-ALL_x@epa.gov]; Talbert-Duarte, Angelia [talbert-
duarte.angelia@epa.gov]; Goerke, Ariadne [Goerke.Ariadne@epa.gov]; Askew, Wendel [Askew.Wendel@epa.gov];
Holden, Allison [Holden.Allison@epa.gov]

BCC: Treml, Gregg [Treml.Gregg@epa.gov]; Kadeli, Lek [Kadeli.Lek@epa.gov]; Jones-Peeler, Meshell [Jones-
Peeler.Meshell@epa.gov]; Gaber, Noha [gaber.noha@epa.gov]; Martiyan, Stefan [MARTIYAN.STEFAN @EPA.GOV];
Hall, JohnM [hall.johnm@epa.gov]; Patrick, Kimberly [Patrick.Kimberly@epa.gov]; OCFO-SR-MGRS_SG
[OCFOSRMGRS_SG@epa.gov]; Wilbur, Jennifer [WilburJennifer@epa.gov]

Subject: ** Important Additional Information on INA and IRA **

Attachments: Update on INA and IRA Pause_FINAL_2-4-2025.pdf; List of Sections.xlsx

Importance: — High

This message provides additional detail to the attached message from the Acting Chief Financial Officer.
Consistent with Court Order, obligations and disbursements to carry out all necessary work can proceed
for all federal financial assistance, including cooperative assistance agreements, all Superfund, and the

accounts attached.

We will continue to keep the community updated as we implement Orders. Please note that effectuation
in agency systems is occurring and requires sequencing.

Please share this information within EPA as necessary to execute.

EPA_00000031
2:25-CV-02152-RMG Date Filed 04/20 Prq Entry Number 106-1 Page 9 of 64
J <9

THE CHIEF FINANCIAL OFFICER
WASHINGTON, D.C. 20460

February 4, 2025

MEMORANDUM
SUBJECT: Update on Inflation Reduction Act and Infrastructure Investment and Jobs Act Pause
GREGG Batavia
FROM: G Treml, Chief Fi ial Offi Acti ate: 2025.02.
O regg Treml, Chief Financia icer (Acting) TREML Date: 2025.02.04
TO: Deputy Assistant Administrators

Deputy Associate Administrators
Deputy Regional Administrators

Distribute as appropriate to those needed to carry out this direction.

This message provides an update pursuant to the recent Court directive addressing financial assistance.
The Court directs that federal financial assistance shall not be paused based on the Office of
Management and Budget’s direction in the rescinded OMB memorandum or the President’s Executive
Orders, while ongoing litigation proceeds or until otherwise directed by a Court.

Consistent with the Order, the agency's financial system will now enable the obligation of financial
assistance. This includes programs within the Infrastructure Investment and Jobs Act and the Inflation
Reduction Act, including federal financial assistance in the State and Tribal Assistance Grants,
Brownfields, and Superfund. The Office of Budget will follow-up with a detailed list. Additionally, the
disbursement of funds connected to this notice will continue.

OCFO, working closely with the Office of General Counsel and Office of Mission Support, will continue
to keep the community updated on this matter.

cc: Lek Kadeli
Meshell Jones-Peeler
Paige Hanson
OCFO Senior Managers
Vonda Jennette
Greg Luebbering
Senior Resource Officials
Senior Budget Officers

EPA_00000032
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 10 of 64

Regional Comptrollers
Funds Control Officers

EPA_00000033
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 11 of 64

This document is produced in native format.

Original file name:

List of Sections.xlsx

EPA_00000034 - EPA_00000035
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 12 of 64

Message

From: Boyd, Wyatt [Boyd.Wyatt@epa.gov]

Sent: 2/25/2025 10:50:45 PM

Subject: Fw: List of Section 7 IRA &INJA applicable programs to Be updated

Attachments: INA IRA EO_v6_RMO EPA.xlsx; Send to EPA Section 7(a) Applicability_IRA and IUA V2.xlsx

Get Outlook for iOS

From: Hickey, Mike EOP/OMB <Michael_ Hickey@omb.eop.gov>

Sent: Tuesday, February 25, 2025 5:31:24 PM

To: Robinson, Angel <robinson.angel@epa.gov>; Boyd, Wyatt <Boyd.Wyatt @epa.gov>
Ce: Milbourn, Frank W..V EOP/OMB <Frank.W.Milbourn@omb.eop.gov>

Subject: List of Section 7 IRA &INA applicable programs to Be updated

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Hi Angel and Wyatt,

We have been requested to finalize the list of Section 2 applicable programs covered under the Unleashing American
Energy executive order. Attached is a spreadsheet containing pre-populated data from our earlier back and forth with
you on what programs would be covered under Section 2.

Our understanding is that you may have received additional guidance you’re your leadership regarding what programs
are covered under Section 2. Please update and confirm the attached spreadsheet with EPA’s most recent
understanding of what programs are covered under Section 2 by February 27" Thursday at 2 PM. Please highlight any
rows that were changed in red.

| have also attached the last file we received from EPA specifically regarding Section 2 applicability for reference. Please
ensure the new file titled “Send to EPA Section 7(a) Applicability_IRA and INJA” reflects EPA’s views.

If you have any questions feel free to reach out to me or Frank.

Thank you,
Mike Hickey

EPA_00000036
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 13 of 64

Appointment

From: Coogan, Daniel [Coogan.Daniel@epa.gov]
Sent: 1/21/2025 3:45:42 PM
To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Jones-Peeler, Meshell [Jones-Peeler.Meshell@epa.gov]; Gulamali, Adil

[Gulamali.Adil@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]; Humes, Hamilton (he/him/his)
[Humes.Hamilton@epa.gov]; Packard, Elise [Packard.Elise@epa.gov]; Talbert-Duarte, Angelia [talbert-
duarte.angelia@epa.gov]; Holden, Allison (she/her/hers) [Holden.Allison@epa.gov]; Boyd, Wyatt
[Boyd.Wyatt@epa.gov]

cc: Kenealy, Timi (she/her/hers) [Kenealy.Timi@epa.gov]
Subject: Coordinating on EO Implementation

Location: Microsoft Teams Meeting

Start: 1/21/2025 5:15:00 PM

End: 1/21/2025 5:30:00 PM

Show Time As: Tentative

Required Coogan, Daniel; Jones-Peeler, Meshell; Gulamali, Adil; Wise, Melissa; Humes, Hamilton (he/him/his); Packard, Elise;
Attendees: Talbert-Duarte, Angelia; Holden, Allison (she/her/hers); Boyd, Wyatt

Optional Kenealy, Timi (she/her/hers)

Attendees:

From: Coogan, Daniel

Sent: Tuesday, January 21, 2025 9:55 AM

To: Coogan, Daniel; Jones-Peeler, Meshell; Gulamali, Adil; Wise, Melissa; Humes, Hamilton (he/him/his); Packard, Elise;
Talbert-Duarte, Angelia; Holden, Allison (she/her/hers)

Subject: Coordinating on EO Implementation

When: Tuesday, January 21, 2025 12:15 PM-12:30 PM (UTC-05:00) Eastern Time (US & Canada).

Where: Microsoft Teams Meeting

The EO on Unleashing American Energy states: “Terminating the Green New Deal. (a) All agencies shall immediately
pause the disbursement of funds appropriated through the Inflation Reduction Act of 2022 (Public Law 117-169) or the
Infrastructure Investment and Jobs Act (Public Law 117-58), including but not limited to funds for electric vehicle
charging stations made available through the National Electric Vehicle Infrastructure Formula Program and the Charging
and Fueling Infrastructure Discretionary Grant Program, and shall review their processes, policies, and programs for
issuing grants, loans, contracts, or any other financial disbursements of such appropriated funds for consistency with the
law and the policy outlined in section 2 of this order. Within 90 days of the date of this order, all agency heads shall
submit a report to the Director of the NEC and Director of OMB that details the findings of this review, including
recommendations to enhance their alignment with the policy set forth in section 2. No funds identified in this subsection
(a) shall be disbursed by a given agency until the Director of OMB and Assistant to the President for Economic Policy
have determined that such disbursements are consistent with any review recommendations they have chosen to adopt.”

Just want to have a quick check-in on how we plan to manage it.

Microsoft Teams need help?

Join the meeting now

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2:25-Ccv-02152-RMG Date Filed 04/21/25

Meeting ID: 286 680 270 850
Passcode: bc9VA6fV

Entry Number 106-1

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Dial in by phone
+1 202-991-0477,,955859034# United States, Washington

Find a local number
Phone conference ID: 955 859 034#

Join on a video conferencing device
Tenant key: sip:teams@video.epa.gov
Video ID: 113 214 349 4

More info

For organizers: Meeting options Reset dial-in PIN

This meeting may be recorded. If the meeting is recorded, it will be announced via a banner showing “this meeting is
being recorded.” Participation in a recorded meeting will be deemed as consent to be recorded. Meeting recordings
may be official agency records subject to appropriate policy, rules and regulations.

EPA_00000051
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 15 of 64

Message

From: This Week @ EPA [epanews@epa.gov]
Sent: 2/4/2025 3:41:58 PM

To: This Week @ EPA [epanews@epa.gov]
Subject: This Week @ EPA - February 4, 2025

THIS WEEK @ EPA

Photo of the Week: Snowshoeing in Rocky Mountain National Park, Colo., captured by Stefan Petersen

from Region 8.
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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 16 of 64

Mass Mailers

° Deferred Resignation Offer and agreement.

° Fork in the Road retirement information.

° You are invited to Administrator Zeldin's welcome address.

e Temporary restraining order related to pause on all federal financial assistance.

e Update on implementing President Trump’s executive order on defending women.

° Welcome message from the Administrator.

e The EPA's response to the LA wildfires.

° Recognizing Data Privacy Week at the EPA.

News Releases

e EPA Administrator Lee Zeldin announces the EPA’s “Powering the Great American Comeback”
initiative.

e EPA Administrator Lee Zeldin visits East Palestine, Ohio, with Vice President JD Vance to mark two-
year anniversary of train derailment.

e The EPA launches largest wildfire hazardous material removal effort in agency history.

e What they are saying: EPA Administrator Lee Zeldin to unleash American greatness as head of the
EPA.

° Lee M. Zeldin sworn in as 17th EPA Administrator.

e Trump EPA updates public on agency assistance following catastrophic wildfires.

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Read Deputy Assistant Administrator for Infrastructure and Extramural Resources, Dan Coogan’s leadership

message on taking the Mission-Support Customer Satisfaction Survey. Find out more about the survey and
last year’s results.

Verena Joerger.

We appreciate EPA employees and their contributions!

Verena Joerger, Region 3

This week we highlight Verena Joerger from Region 3. Verena is a quality assurance coordinator and
exceptional events lead in Region 3’s Air and Radiation Division. Read Verena's profile to find out more.

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 18 of 64

Phase 3 Launch of CUI coming soon
The Controlled Unclassified Information Program will launch Phase 3 on Feb. 12. Once Phase 3 launches,
six additional CUI categories will be released for marking. Find out more details about Phase 3.

Microsoft Office feature update

The Office of Mission Support deployed a new update for Microsoft 365 on Jan. 17. Monthly updates ensure
the EPA maintains the latest enhancements and security features to maximize employee productivity. Get
more information on the latest M365 updates.

Start living a heart-healthy lifestyle

Heart disease is the leading cause of mortality in the United States, responsible for approximately one in five
deaths. Learn how living a heart-healthy lifestyle can reduce your risk of developing heart disease and
having a stroke.

Sleep is essential for good health
Getting an adequate amount of sleep every night decreases your risk for diabetes, high blood pressure,
heart disease, stroke and mental health issues. Learn how to get better sleep.

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EPA Administrator Lee Zeldin addresses EPA employees

On January 29, 2025, Lee Zeldin was sworn in as the 17th Administrator of the U.S. Environmental
Protection Agency. In this video, Administrator Zeldin addresses employees across the agency with a
commitment to fostering a culture of collaboration as we work toward our common goal — fulfilling the
agency’s mission to protect human health and the environment.

Feb. 4: You are invited to Administrator Zeldin's welcome address.

Feb. 4: Esri open office hours.

Feb. 4: Strategic Tax Planning: Navigating Your Financial Future — Capital Financial Planners-RetFED.
Feb. 4: Federal Docket Management System Training: Introduction to FDMS.

Feb. 4: Timecard corrections due from prior pay periods for pay period 04 2025.

Feb. 6: Geospatial open office hours.

Feb. 6: EPA Qlik User Group.

Feb. 6: Lean Management System Overview Webinar-Open to all employees.

Feb. 6: Time and attendance for pay period 04, 2025, ending February 8, 2025.

Feb. 11: EPA Python CoP monthly webinar.
Feb. 11: Headquarters Maternal Wellness Program seminar: Mental and emotional health aspects of

breastfeeding.
Feb. 11: Healthy Hearts - hosted by Care First Blue Cross Blue Shield and Virginia Hospital Center.

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Feb. 11: National Maternal Wellness Program Seminar: Mental and emotional health aspects of
breastfeeding.

Feb. 11: Federal Docket Management System Training: FDMS for the HQ OPP program.
Feb. 12: CCED seminar series.

Feb. 12: CUI Phase 3 launch & program overview.

Feb. 12: Qlik in 45- Basics.

Feb. 13: Geospatial open office hours.

Feb. 13: Taxes and IRS — hosted by The Foundation for Financial Education.

Feb. 18: Esri open office hours.

Feb. 18: Federal Docket Management System Training: FDMS for docket managers.
Feb. 18: Introduction to EPA@Work, the agency's intranet.

Feb. 19: ARMS office hours.

Feb. 19: The DASH Meal Plan - hosted by Kaiser Permanente.

Feb. 19: CUI Phase 3 Launch Drop-In Session.

Feb. 19: R user group monthly webinar.

Please visit the agency calendar (VPN required) to add agency events to your Outlook calendar. For help
adding agency calendar items to your Outlook calendar, please see: How to Easily Add Agency Calendar
Events to Outlook.

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We would love to hear your feedback about this newsletter. Please contact us at:
internalcomms@epa.gov | Office of Internal Communications webpage

Note: Opening social media links may automatically log you into your personal account for that social
media website. Keep in mind that all EPA employees who use personal social media accounts must do so
in accordance with agency policies on personal use of government devices (CIO 2101.2), as well as Hatch
Act restrictions on how federal workers can use social media (Quick Guide and General Information).

EPA_00000057
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 21 of 64

Message

From: Kelty, Diane [Kelty.Diane@epa.gov]

Sent: 2/4/2025 4:56:12 PM

To: Treml, Gregg [Treml.Gregg@epa.gov]

cc: Kadeli, Lek [Kadeli.Lek@epa.gov]; Jones-Peeler, Meshell [Jones-Peeler.Meshell@epa.gov]; Gulamali, Adil

[Gulamali.Adil@epa.gov]; Boyd, Wyatt [Boyd.Wyatt@epa.gov]; Robinson, Angel [robinson.angel@epa.gov];
McMichael, Nate [McMichael.Nate@epa.gov]

Subject: FOR SIGNATURE: Memorandum

Attachments: Update on INA and IRA Pause 2.4.25 Fianal Track Changes .docx; 1.27.25 Acting CFO IA and IRA Pause Memo.pdf;
RE: Inflation Reduction Act and Infrastructure Investment and Jobs Act Funding Action Pause; Update on INA and IRA
Pause_FINAL_2-4-2025.pdf

Final for signature available added:

From: McMichael, Nate <McMichael.Nate@epa.gov>

Sent: Tuesday, February 4, 2025 11:37 AM

To: Kadeli, Lek <Kadeli.Lek@epa.gov>; Treml, Gregg <Treml.Gregg@epa.gov>

Cc: Jones-Peeler, Meshell <Jones-Peeler.Meshell@epa.gov>; Gulamali, Adil <Gulamali.Adil@epa.gov>; Boyd, Wyatt
<Boyd.Wyatt@epa.gov>; Robinson, Angel <robinson.angel@epa.gov>; Kelty, Diane <Kelty.Diane@epa.gov>
Subject: RE: Memo for Final Review

Gregg —

We are preparing today’s memo for your signature. Diane asked me to send you a track changes version as well as the
previous memo and Friday email so that you can compare. All are attached here.

In the meantime, we will clean up the edits and get the new memo ready for you to sign and send.

From: Kadeli, Lek <Kadeli.Lek@epa.gov>

Sent: Tuesday, February 4, 2025 11:00 AM

To: McMichael, Nate <McMichael.Nate@epa.gov>; Treml, Gregg <Ireml.Gregg@epa.gov>

Cc: Jones-Peeler, Meshell <Jones-Peeler.Meshell@epa.gov>; Gulamali, Adil <Gulamali.Adil@epa.gov>; Boyd, Wyatt
<Boyd.Wyatt@epa.gov>; Robinson, Angel <robinson.angel@epa.gov>; Kelty, Diane <Kelty.Diane@epa.gov>
Subject: RE: Memo for Final Review

Nate — | have made organized the information differently. | have avoided making changes to text since it has been
cleared by OGC.

Regards,
Lek

Lek G. Kadeli

Associate Chief Financial Officer

United States Environmental Protection Agency
Direct Line: 202-860-5804

Kadeli.Lek@EPA.Gov

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 22 of 64

s 5,
OCFO

From: McMichael, Nate <McMichael.Nate@epa.gov>

Sent: Tuesday, February 4, 2025 10:48 AM

To: Treml, Gregg <Trem|.Gregg@ epa.gov>

Ce: Kadeli, Lek <Kadeli.Lek@epa.gov>; Jones-Peeler, Meshell <Jones-Peeler.Meshell@epa.gov>; Gulamali, Adil
<Gulamali.Adil@epa.gov>; Boyd, Wyatt <Boyd.Wyatt@epa.gov>; Robinson, Angel <robinson.angel@epa.gov>; Kelty,
Diane <Kelty.Diane@epa.gov>

Subject: Memo for Final Review

Gregg and team — OB made the final tweaks to the memo. I dropped it into the OCFO template and will create the PDF
for Gregg to sign. Please see the attached copy and have a final look as I prepare it for signature. “=| Update on IIJA and
IRA Pause 2.4.25.docx

Thank you,
Nate

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2:25-Ccv-02152-RMG Date Filed 04/2448 S14), Entry Number 106-1 Page 23 of 64
S <s

THE CHIEF FINANCIAL OFFICER
WASHINGTON, D.C. 20460

January 27, 2025

CUI//SP-BUDG

MEMORANDUM
SUBJECT: Inflation Reduction Act and Infrastructure Investment and Jobs Act Funding Action
Pause
FROM: Gregg Treml, Chief Financial Officer (Acting) GREGG Digitally signed by
TREML | S012
TO: Deputy Assistant Administrators

Deputy Associate Administrators
Deputy Regional Administrators

This message is being provided based on instruction from OMB.

In accordance with the Executive Order Unleashing American Energy, unobligated funds (including
unobligated commitments) appropriated by the Inflation Reduction Act of 2022 (P.L. 117-169) and the
Infrastructure Investment and Jobs Act (P.L. 117-58) are paused. Pursuant to this pause, the Compass
financial system will temporarily not allow obligations to be made in these lines of accounting. EPA is in
discussions with the Office of Management and Budget on the continuation of payroll in IA and IRA.

Additionally, all disbursements for unliquidated obligations funded by any line of accounting including
funds appropriated by the Inflation Reduction Act of 2022 (P.L. 117-169) and the Infrastructure
Investment and Jobs Act (P.L. 117-58), are paused. Additional details on the pause in disbursements
will be provided separately by the Office of the Controller.

This pause will allow for the review of processes, policies and programs as required by Section 7 of the
Order.

All related actions, including new contract, grant, rebate and interagency actions, to include
drawdowns, for IIJA and IRA are paused. Offices are not to put IIJA or IRA lines of accounting on any
actions and all current actions are paused. Further, no IIA or IRA funded travel is permissible at this
time and all upcoming travel funded from either should be cancelled.

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A process has been established at OMB for their review and approval of obligations and disbursements
based on the Order. We will continue to update the community. We appreciate your work to ensure
compliance with the Order.

cc: Lek Kadeli
Meshell Jones-Peeler
Paige Hanson
Senior Resource Officials
Senior Budget Officers
Regional Comptrollers
Funds Control Officers

Controlled by U.S. Environmental Protection Agency

EPA_00000063
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 25 of 64

Message

From: Treml, Gregg [Treml.Gregg@epa.gov]

Sent: 1/31/2025 7:21:23 PM

To: Leadership_Deputy_Assistant_Administrators [Leadership_Deputy_Assistant_Administrators@epa.gov];

Leadership_Deputy_Associate_Administrators [Leadership_Deputy_Associate_Administrators@epa.gov];
Leadership_Deputy_Regional_Administrators [Leadership _Deputy_Regional_Administrators@epa.gov]; Career
Senior Advisors for Management [Career_Senior_Advisors_for_Management@epa.gov]; Murley, Nicole
[Murley.Nicole@epa.gov]

cc: Kadeli, Lek [Kadeli.Lek@epa.gov]; Jones-Peeler, Meshell [Jones-Peeler.Meshell@epa.gov]; Hanson, Paige (Catherine)
[hanson.catherine@epa.gov]; OCFO-SROs [OCFO_SROs@epa.gov]; OCFO-SBO [OCFOSBO @epa.gov]; OCFO-Regional-
Comptroller [OCFORegionalComptroller@epa.gov]; OCFO-FCOs [OCFO-FCOs@epa.gov]

Subject: RE: Inflation Reduction Act and Infrastructure Investment and Jobs Act Funding Action Pause

CUI//SP-BUDG

Colleagues —

| am writing to provide an update on EPA’s work to implement the President’s “Unleashing American Energy’
Executive Order in coordination with the Office of Management and Budget. OMB has approved a 4-week
window to continue to process employment related funds while the evaluation of programs continues. This
means that employees can continue to use IIJA and IRA related work codes in PeoplePlus through the pay
period ending February 22, 2025, and that essential workforce support (e.g., WCF) may continue for that
period.

e

Office of Inspector General Only:
OMB has also confirmed that Office of Inspector General may continue to use INA funds for oversight.

My team and | will share additional updates as they become available.

Thank you,
-Gregg

Gregg Treml

Acting Chief Financial Officer

United States Environmental Protection Agency
1200 Pennsylvania Avenue, NW

Room 4402A WJCN

Washington, DC 20460

(202)-564-1151

treml.gregeg(epa.gov

Controlled by U.S. Environmental Protection Agency

From: Treml, Gregg <Irem!.Gregg@epa.gov>

Sent: Monday, January 27, 2025 5:18 PM

To: Leadership_Deputy_Assistant_Administrators <Leadership Deputy Assistant Administrators@epa.gov>;
Leadership_Deputy_Associate_Administrators <Leadership Deputy Associate Administrators@epa.gov>;
Leadership_Deputy_Assistant_Administrators <Leadership Deputy Assistant _Administrators@epa.gov>

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 26 of 64

Ce: Kadeli, Lek <Kadeli.Lek@epa.gov>; Jones-Peeler, Meshell <Jones-Peeler.Meshell@epa.gov>; Hanson, Paige
(Catherine) <hanson.catherine@ epa.gov>; OCFO-SROs <OCFO SROs@epa.gov>; OCFO-Regional-Comptroller
<OCFORegionalComptroller@epa.gov>; OCFO-FCOs <OCFO-FCOs@epa.gov>; OCFO-SBO <OCFOSBO@epa.gov>
Subject: Inflation Reduction Act and Infrastructure Investment and Jobs Act Funding Action Pause

Colleagues —

As EPA works diligently to implement President Trump’s “Unleashing American Energy” Executive Order in
coordination with the Office of Management and Budget, I am providing the attached memorandum as
guidance. The agency has paused all funding actions related to the Inflation Reduction Act and the
Infrastructure Investment and Jobs Act at this time.

As noted in the memorandum, the agency will continue to work with OMB to review processes, policies, and
programs, as required by the Executive Order.

Thank you,
-Gregg

Gregg Treml

Acting Chief Financial Officer

United States Environmental Protection Agency
1200 Pennsylvania Avenue, NW

Room 4402A WJCN

Washington, DC 20460

(202)-564-1151

treml.grege(epa.gov

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THE CHIEF FINANCIAL OFFICER
WASHINGTON, D.C. 20460

February 4, 2025

CUI//SP-BUDG

MEMORANDUM

SUBJECT: Update on Inflation Reduction Act and Infrastructure Investment and Jobs Act Pause
FROM: Gregg Treml, Chief Financial Officer (Acting)

TO: Deputy Assistant Administrators

Deputy Associate Administrators
Deputy Regional Administrators

Distribute as appropriate to those needed to carry out this direction.

This message provides an update pursuant to the recent Court directive addressing financial assistance.
The Court directs that federal financial assistance shall not be paused based on the Office of
Management and Budget’s direction in the rescinded OMB memorandum or the President’s Executive
Orders, while ongoing litigation proceeds or until otherwise directed by a Court.

Consistent with the Order, the agency’s financial system will now enable the obligation of financial
assistance. This includes programs within the Infrastructure Investment and Jobs Act and the Inflation
Reduction Act, including all State and Tribal Assistance Grants and Superfund. The Office of Budget will
follow-up with a detailed list. Additionally, the disbursement of funds connected to this notice will
continue.

OCFO, working closely with the Office of General Counsel and Office of Mission Support, will continue
to keep the community updated on this matter.

cc: Lek Kadeli
Meshell Jones-Peeler
Paige Hanson
OCFO Senior Managers
Vonda Jennette

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2:25-Ccv-02152-RMG Date Filed 04/21/25

Greg Luebbering

Senior Resource Officials
Senior Budget Officers
Regional Comptrollers
Funds Control Officers

Entry Number 106-1

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Message

From: Wang, Lili [Wang.Lili@epa.gov]

Sent: 2/4/2025 7:48:23 PM

To: Robinson, Angel [robinson.angel@epa.gov]; Boyd, Wyatt [Boyd.Wyatt@epa.gov]

cc: Katz, Brian [Katz.Brian@epa.gov]; Cardenas, Andrew [Cardenas.Andrew@epa.gov]; Enock, Ntekereze
[Enock.Ntekereze@epa.gov]

Subject: IWA/IRA by section summary table - updated

Attachments: IRA EO_v6_RMO EPA v6.docx; INA EO_v6_RMO EPA v6.docx

See attached with the unobligated balance column added. They are print ready.

Also on the SP site:

[Administrator Materials

Lili Wang, P.E., MBA

Director, Resource Planning and Operations Division
Office of the Chief Financial Officer] Office of Budget
202-564-9156 (0) | 202-308-5619 (m) | Wang.lili@epa.gov

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Date ee O7/SP-BUDG Number 106-1

IRA EO Review by Section

Dollars in thousands

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Unobligated FTE Estimated
Section Title Total Budget 6 me Annual IG/GAO Oversight?
Balance Utilization
Payroll
Air Quality Sensors in Low Income and
Disadvantaged Communities (OAR) (STAG) 93,000 9711 0.9 9155 | NA
Assessment (OAR) $1,000 $132 0.0 NA
Clean Air Act Grants (OAR) (STAG) $25,000 $667 1.5 $245 | NA
GAO-106887 - School Bus
Clean Heavy-Duty Vehicles (OAR) (STAG) $600,000 $89,218 0.6 $3,379 | Diesel Emissions Reduction
Programs
Clean Heavy-Duty Vehicles in Nonattainment
eee $400,000 $219,678 23.3 $92 | NA
Competitive Grants (OAR) (STAG) $15,000 $374 1.8 $240 | NA
Consumer Education (OAR) $17,000 $8,456 0.9 $167 | NA
Diesel Emissions Reductions (OAR) (STAG) $60,000 $59,741 1.3 $218 | NA
Emissions from Wood Heaters (OAR, ORD) $15,000 $3,221 a7 $738 | NA
(STAG)
Environmental and Climate Justice Block Grants
- Technical Assistance (OEJECR) 0 a 92.5 934,686 | NA
Environmental and Climate Justice Block Grants
lORIEER, (ORD $2,800,000 $374,105 234.1 $8,580 | NA
Environmental Product Declaration Assistance $250,000 $222,347 54.0 $37,125 | NA

(OCSPP, ORD, OAR)

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EPA Efficient, Accurate and Timely Reviews

Date ee O7/SP-BUDG Number 106-1

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40,000 21,976 73.6 NA
(OA, OAR, OCSPP, OECA, OITA, OLEM, OW) 240, 921, 911,441
Fenceline Air Monitoring and Screening Air
117,500 38,073 25.9 NA
Monitoring (OAR, ORD) (STAG) 9117, 938, $4,581
Funding for Enforcement Technology and
Public Information - Communications with ICIS $3,000 $3,000 0.0 | - NA
(OECA) (STAG)
Funding for Enforcement Technology and
Public Information - Compliance Monitoring $18,000 $10,424 2.1 $374 | NA
(OECA) (STAG)
Funding for Enforcement Technology and
Public Information - Inspection Software $4,000 $3,010 2.7 S405 | NA
(OECA) (STAG)
Funding for Implementation of the American
Innovation and Manufacturing Act (OAR) ae —— it 9198 | NA
Funding for Section 211 of the Clean Air Act -
Advanced Biofuels (OAR) 710,008 peal te 9162 | NA
Funding for Section 211 of the Clean Air Act -
5,000 2,780 0.2 NA
Test and Protocol Development (OAR) *5, 92, 939
Funding to Address Air Pollution at Schools -
general {NR (STAG $37,500 $2,035 4.0 $712 | NA
Funding to Address Air Pollution at Schools -
General (OAR ISTAG) $12,500 $11,349 5.1 $923 | NA
GHG Air Pollution Implementation Grants
4,750,000 77,491 139.2 NA
(OAR) (STAG) 94,750, 77, $23,175
GHG Air Pollution Pl ing Grants (OAR
ir Pollution Planning Grants (OAR) $250,000 $246 40.0 $7,295 | NA

(STAG)

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Date ee O7/SP-BUDG Number 106-1

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GHG and Zero Emission Standards for Mobile
5,000 4,015 0.0 NA
Sources (OAR) (STAG) *5, 74,
Grants to Red Air Polluti t Ports (OAR
oat Rees ey Pellution a Gersieen $2,250,000 $36,556 eG $9,847 | NA
(STAG)
Grants to Reduce Air Pollution at Ports in
Nonattainment Areas (OAR) (STAG) a oe 72 Be
Greenhouse Gas Corporate Reporting (OAR) $5,000 $5,000 0.0 $10,640 | NA
(STAG)
Greenhouse Gas Reduction Fund -
30,000 19,358 62.3 NA
Administrative Amount (OA, OAR) (STAG) 2 2 91,503
Greenhouse Gas Reduction Fund - General
11,970,000 0 8.4 NA
Assistance (OA) (STAG) ee °
Greenhouse Gas Reduction Fund - Low Income
8,000,000 0 0.0 NA
and Disadvantage Communities (OA) (STAG) aoe °
Greenhouse Gas Reduction Fund - Zero
7,000,000 0 0.0 NA
Emission Technologies (OA) (STAG) ee ° 917
Implementation / Accountability (OAR) $18,000 $4,410 0.1 $2,882 | NA
Implementation and Compliance (OECA) $3,500 $763 15.8 $19 | NA
Industry Outreach (OAR) $17,000 $12,275 0.1 $6,470 | NA
Low Embodied Carbon Labeling for
Construction Materials for Transportation $100,000 $70,375 38.1 $13,269 | NA
Projects (OCSPP, OAR, ORD)
Methane Emissions and Waste Reduction
Incentive Program - Conventional Wells (OAR) $700,000 $3,814 9.7 $1,737 | NA
(STAG)

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Methane Emissions and Waste Reduction

Date ee O7/SP-BUDG Number 106-1

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Total

Incentive Program (OAR, OECA) (STAG) ae a Tat 91,248 | NA
Methane Monitoring (OAR, ORD) (STAG) $20,000 $18,391 6.8 $224 | NA
Multipollutant Monitoring Stations (OAR) $50,000 $3,722 13 $2,434 | NA
(STAG)

State/Tribal/Local Government Outreach (OAR) $17,000 $8,336 0.2 $34 | NA
Technical Assistance for Low Income

Communities (OAR) $17,000 $1,968 0.9 $159 | NA

$41,456,000 | $1,559,160 | 933.0 $185,413

Green-highlighted sections contravene with Section 2 of the Executive Order. GAO has opened several audits that may

have a nexus to IRA programs in the future.

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Date ee O7/SP-BUDG Number 106-1

IIJA EO Review by Section

Dollars in thousands

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Unobligated FTE Estimated
Section Title Total Budget 6 eee Annual IG/GAO Oversight?
Balance Utilization
Payroll
Addressing Emerging Contaminant
; NA
Grants (STAG) $5,000,000 $2,026,936 40.7 $9,859
Battery Recycling Best Practices
10,000 2,829 1.1 280 | NA
(Expires Sept. 2026) 710, 92, °
24-P00067-167 - The EPA’s Brownfields
Projects Program Is on Track to Meet Its
Brownfields (STAG) $1,500,000 $316,207 55.4 $6,541 | Justice40 Goal
22-P00033-167 - Brownfields Program-
Income Monitoring Deficiencies Persist
Chesapeake Bay $238,000 $7,337 5.4 $993 | NA
25-F00010-130 -Annual Audit -
Reconcile the advances and expenses
quarterly for the Clean School Bus
Rebates Program.
25-F00010-130 - Annual Audit - Develop
Clean School Bus Program (STAG) $5,000,000 $1,176,959 59.7 $10,276 | guidance on recording the payments for

the Clean School Bus Rebates Program
in the EPA’s accounting system.
24-E00050-140 -The EPA Needs to
Improve Internal Controls for Selecting
Recipients of Clean School Bus Program

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EPA_00000073

2:25-Ccv-02152-RMG

Date ee O7/SP-BUDG Number 106-1

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Unobligated FTE Estimated
Section Title Total Budget ste. as Annual IG/GAO Oversight?
Balance Utilization
Payroll
4-P00028-168 - The EPA Should Improve
Annual Reviews to Protect Infrastructure
Investment and Jobs Act Grants to Clean
Water State Revolving Funds
GAO-24-106251: Clean Water: Revolving
Fund Grant Formula Could Better Reflect
: Infrastructure Needs, and EPA Could Improve

ne Ne(STAG) Revolvingloan | ¢41713,000| $3,099,448 33.1] $9,119 | Needs Estimate
GAO-20-24: Water Infrastructure: Technical
Assistance and Climate Resilience Planning
Could Help Utilities Prepare for Potential
Climate Change Impacts
GAO-16-79: Critical Infrastructure Protection:
Sector-Specific Agencies Need to Better
Measure Cybersecurity Progress

Clean Water State Revolving Loan

Funds - Emerging Contaminants $1,000,000 $338,180 25.4 $3,766 | NA

(STAG)

Columbia River Basin $79,000 $3,505 2.3 S473 | NA

Drinking Water Programs - Class $25,000 $9,000 07 S684 | NA

VI Wells

Drinking Water State Revolving

Loan Funds (STAG) $11,713,000 $3,386,534 82.9 $11,981 | NA

Drinking Water State Revolving GAOQ-24-106523 - PersisKenit Chemicals:

Loan Funds - Emerging $4,000,000} $1,152,015 31.1; $7,458 | Additional EPA Actions Could Help Public

Contaminants (STAG)

Water Systems Address PFAS in Drinking
Water

Controlled by U.S. Environmental Protection Agency

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Section Title

Total Budget

Unobligated
Balance

FTE
Utilization

Estimated
Annual
Payroll

IG/GAO Oversight?

Drinking Water State Revolving
Loan Funds - Lead Service Line
Replacement (STAG)

$15,000,000

$5,551,305

53.7

$12,841

GAO-21-78: Drinking Water: EPA Could Use
Available Data to Better Identify
Neighborhoods at Risk of Lead Exposure
GAO-22-105135 - Persistent Chemicals: EPA
Should Use New Data to Analyze the
Demographics of Communities with PFAS in
Their Drinking Water

GAO-06-148: Drinking Water: EPA Should
Strengthen Ongoing Efforts to Ensure That
Consumers Are Protected from Lead
Contamination

Great Lakes Restoration Initiative

$1,000,000

$450,628

10.9

$2,930

24-P00043-350 - Great Lakes Restoration
Initiative Grants Documented Most
Achievements, but the EPA Could Improve
23-P00034-350 - Efficiency and Effectiveness
of the Great Lakes Restoration Initiative

Gulf Hypoxia Action Plan

$60,000

$18,335

1.4

$247

GAO-22-104449: Water Quality: Agencies
Should Take More Actions to Manage Risks
from Harmful Algal Blooms and Hypoxia

Gulf of Mexico (America)

$53,000

$41,878

0.6

$88

NA

Lake Champlain

$40,000

$8,796

0.8

$139

NA

Lake Pontchartrain

$53,000

$10,963

0.6

$154

GAO-23-105547 - Lake Pontchartrain Basin:
Additional Transparency and Performance
Management Could Improve EPA's
Restoration Program

Long Island Sound

$106,000

$19,240

1.3

$213

NA

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Estimated
li FTE :
Section Title Total Budget Unobilgated ste. as Annual IG/GAO Oversight?
Balance Utilization
Payroll
National Estuary Program Grants $132,000 $20,568 0.0 SO | NA
Pacific Northwest $4,000 $1,515 0.0 | - NA
Pollution P tion Grant
naan rrevenron tran's $100,000 $40,210 11.4] $1,917 | NA
(STAG)
GAO-24-105687: Puget Sound: Further
Actions Could Improve Efforts to Address
Impaired Water Quality That Threatens
Puget Sound $89,000 $2,005 2.1 $360 | Salmon
GAO-18-453: Puget Sound Restoration:
Additional Actions Could Improve
Assessments of Progress
GAO-25-107165: Textile Waste: Federal
Recycling Grants (STAG) $75,000 $27,191 1.7 $286 | Entities Should Collaborate on Reduction and
Recycling Efforts
San Francisco Bay $24,000 $8,039 1.4 $272 | NA
Solid Waste Infrastructure
Financing - Save Our Seas Act $275,000 $74,862 6.4 $1,300 | NA
Grants (STAG)
South Florida $16,000 $6,284 0.0 | - NA
Southern New England Estuaries $15,000 $4,036 2.5 $419 | NA
24-E00046-340 - Effectiveness of IIJA Funding
Superfund Remedial $3,500,000 $99,499 59.2 $10,597 | at American Creosote Works Inc. Superfund
Site in Pensacola FL
UIC Grants (STAG) $50,000 $29,382 0.5 $79 | NA

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2:25-Ccv-02152-RMG

Date ee O7/SP-BUDG Number 106-1

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' Estimated
Section Title Total Budget Unobilgated . on Annual IG/GAO Oversight?
Balance Utilization
Payroll
Voluntary Battery Labeling
Guidelines (Expires Sept. 2026) a a ae oe
Total $60,885,000 | $17,939,013] 495.5] $93 524

Note: IIJA has one remaining year of new budget authority to be appropriated on October 1, 2025 for FY 2026.

Green-highlighted sections contravene with Section 2 of the Executive Order.

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Copy of List of Sections.xisx

EPA_00000081 - EPA_00000082
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 40 of 64

Message

From: Lane, Gary [Lane.Gary@epa.gov]

Sent: 2/4/2025 8:58:34 PM

To: Milbourn, Frank W. .V EOP/OMB [Frank.W.Milbourn@omb.eop.gov]; Wang, Lili [Wang.Lili@epa.gov]; Boyd, Wyatt
[Boyd.Wyatt@epa.gov]

cc: Hickey, Mike EOP/OMB [Michael_Hickey@omb.eop.gov]; Ward, Michelle G. EOP/OMB
[Michelle.G.Ward@omb.eop.gov]; Henry, Latonya [Henry.Latonya@epa.gov]

Subject: RE: Request for IRA Unobligated Balances by Account

Attachments: IRA Obligations FY 25 as of Jan 20th.xlsx

Frank — See the attached report. This is an update to the Q1 IRA report providing Obligation as well as unobligated
balances through Jan 20", 2025. The report also includes Treasury Symbol information per your request

From: Milbourn, Frank W. .V EOP/OMB <Frank.W.Milbourn@omb.eop.gov>

Sent: Tuesday, February 4, 2025 1:52 PM

To: Wang, Lili <Wang.Lili@epa.gov>; Boyd, Wyatt <Boyd.Wyatt@epa.gov>; Lane, Gary <Lane.Gary@epa.gov>
Cc: Hickey, Mike EOP/OMB <Michael_Hickey@omb.eop.gov>; Ward, Michelle G. EOP/OMB
<Michelle.G.Ward@omb.eop.gov>

Subject: RE: Request for IRA Unobligated Balances by Account

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Thanks Lili!

Frank W. Milbourn V

Program Examiner, Environment Branch

Office of Management and Budget

202-881-6284 | Frank.W.Milbourn@omb.eop.gov

From: Wang, Lili <Wang.Lili@epa.gov>

Sent: Tuesday, February 4, 2025 1:09 PM

To: Milbourn, Frank W. .V EOP/OMB <Frank.W.Milbourn@omb.eop.gov>; Boyd, Wyatt <Boyd.Wyatt@epa.gov>; Lane,
Gary <Lane.Gary@epa.gov>

Ce: Hickey, Mike EOP/OMB <Michael_Hickey@omb.eop.gov>; Ward, Michelle G. EOP/OMB
<Michelle.G.Ward@omb.eop.gov>

Subject: RE: Request for IRA Unobligated Balances by Account

Looping in Gary whose team leads the quarterly unobligated balances reports.

From: Milbourn, Frank W. .V EOP/OMB <Frank.W.Milbourn@omb.eop.gov>

Sent: Tuesday, February 4, 2025 12:57 PM

To: Boyd, Wyatt <Boyd.Wyatt@epa.gov>; Wang, Lili <Wang.Lili@epa.gov>

Ce: Hickey, Mike EOP/OMB <Michael_Hickey@omb.eop.gov>; Ward, Michelle G. EOP/OMB
<Michelle.G.Ward@omb.eop.gov>

Subject: Request for IRA Unobligated Balances by Account

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whether to open attachments or click on provided links.

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Hello Lili and Wyatt,
We have received a request to report IRA quarterly unobligated balances by OMB/Treasury account as of 1/20. Our
current IRA reports don’t contain this information.

Could you provide an updated IRA quarterly report with OMB/Treasury account number and names for all IRA programs
by 4 PM today?

Let me know if you have any questions.
Thanks!

Frank W. Milbourn V

Program Examiner, Environment Branch

Office of Management and Budget
202-881-6284 | Frank.W.Milbourn@omb.eop.gov

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Original file name:

IRA Obligations FY 25 as of Jan 20th.xisx

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Message

From: Wang, Lili [Wang.Lili@epa.gov]

Sent: 2/4/2025 9:58:36 PM

To: Robinson, Angel [robinson.angel@epa.gov]; Boyd, Wyatt [Boyd.Wyatt@epa.gov]

cc: Katz, Brian [Katz.Brian@epa.gov]; Cardenas, Andrew [Cardenas.Andrew@epa.gov]; Enock, Ntekereze
[Enock.Ntekereze@epa.gov]

Subject: RE: IUA/IRA by section summary table - description added

Attachments: IRA EO_v6_RMO EPA v8.docx

Attached has the description column added.

Thanks to Enock and Brian for the quick turnaround!

From: Wang, Lili

Sent: Tuesday, February 4, 2025 2:48 PM

To: Robinson, Angel <robinson.angel@epa.gov>; Boyd, Wyatt <Boyd.Wyatt@epa.gov>

Ce: Katz, Brian <Katz.Brian@epa.gov>; Cardenas, Andrew <Cardenas.Andrew@epa.gov>; Enock, Ntekereze
<Enock.Ntekereze@epa.gov>

Subject: INA/IRA by section summary table - updated

See attached with the unobligated balance column added. They are print ready.

Also on the SP site:

[Administrator Materials

Lili Wang, P.E., MBA

Director, Resource Planning and Operations Division
Office of the Chief Financial Officer] Office of Budget
202-564-9156 (0) | 202-308-5619 (m) | Wang.lili@epa.gov

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Dollars in thousands

Date ee O7/SP-BUDG Number 106-1

IRA EO Review by Section

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Section Title

Total Budget

Unobligated
Balance

FTE
Utilization

Estimated
Annual
Payroll

IG/GAO Oversight?

Air Quality Sensors in Low Income and
Disadvantaged Communities (OAR) (STAG)
This program provides grants to deploy,
integrate, and operate air quality sensors in
communities to better characterize air quality.

$3,000

$711

0.9

$155

Assessment (OAR)

This program assesses greenhouse gas
emissions from changes in domestic electricity
generation and use that are anticipated to
occur on an annual basis through 2031.

$1,000

$132

0.0

Clean Air Act Grants (OAR) (STAG)

This program supports efforts by air pollution
control agencies and other organizations to
partner with EPA to deliver cleaner air through
programs that address air quality,
transportation, and indoor air.

$25,000

$667

1.5

$245

Clean Heavy-Duty Vehicles (OAR) (STAG)

The Clean Heavy-Duty Vehicles grant program
assists the replacement of existing internal
combustion engine Class 6 and Class 7 vehicles
with new zero-emission vehicles and associated
infrastructure.

$600,000

$89,218

0.6

$3,379

GAO-106887 - School Bus
Diesel Emissions Reduction

Clean Heavy-Duty Vehicles in Nonattainment
Areas (OAR) (STAG)

The Clean Heavy-Duty Vehicles grant program
assists the replacement of existing internal
combustion engine Class 6 and Class 7 vehicles

$400,000

$219,678

23.3

$92

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with new zero-emission vehicles and associated
infrastructure.

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Competitive Grants (OAR) (STAG)

Provides grants to develop projects for HFC
reclamation and innovative destruction
technologies to increase the availability of
reclaimed HFCs for reuse and decreasing the
need for production of new HFCs.

$15,000

$374

1.8

$240

NA

Consumer Education (OAR)

This program supports voluntary outreach and
technical assistance to, and partnerships with,
State, Tribal, and local governments to increase
information on emissions reductions that result
from domestic electricity generation and use.

$17,000

$8,456

0.9

$167

NA

Diesel Emissions Reductions (OAR) (STAG)
The Diesel Emissions Reduction Act (DERA)
Program funds grants and rebates that protect
human health and improve air quality by
reducing harmful emissions from diesel
engines.

$60,000

$59,741

1.3

$218

NA

Emissions from Wood Heaters (OAR, ORD)
(STAG)

This program funds grants and other Agency
activities for testing to address emissions from
wood heaters. This is a voluntary program that
increases consumer choice and information.

$15,000

$3,221

4.7

$738

NA

Environmental and Climate Justice Block
Grants - Technical Assistance (OEJECR)

The EJ Block Grants provide $200 million for
technical assistance that is available to grant
awardees to use in relation to their community-
scale projects. Local and state governments
should take note of what areas of technical

$200,000

$59,092

52.5

$34,686

NA

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assistance are needed by recipients of the EJ
Block Grants.

Environmental and Climate Justice Block
Grants (OEJECR, ORD)

The Environmental and Climate Justice Block
Grants (EJ Block Grants) program provides $2.8
billion for community-led solutions such as
pollution monitoring, prevention, and $2,800,000 $374,105 234.1 $8,580 | NA
remediation activities; increased engagement
of disadvantaged communities; mitigation of
climate and health risks; climate resilience and
adaptation; and reduction of indoor toxic and
indoor air pollution.

Environmental Product Declaration Assistance
(OCSPP, ORD, OAR)

The goal of this voluntary grant program is to
support businesses that manufacture
construction materials and products to develop $250,000 $222,347 24.0 $37,125 | NA
and verify environmental product declarations
(EPDs), and to support states, Tribes, and
nonprofit organizations that will assist such
businesses.

EPA Efficient, Accurate and Timely Reviews
(OA, OAR, OCSPP, OECA, OITA, OLEM, OW)
This program is for the development of
efficient, accurate, and timely reviews for
permitting and approval processes through the
hiring and training of personnel, the
development of programmatic documents, the
procurement of technical or scientific services
for reviews, the development of environmental
data or information systems, stakeholder and
community engagement, the purchase of new
equipment for environmental analysis

$40,000 $21,976 73.6 $11,441 | NA

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Fenceline Air Monitoring and Screening Air
Monitoring (OAR, ORD) (STAG)

This program provides grants and other
applicable activities to deploy, integrate,
support, and maintain fenceline air monitoring,
screening air monitoring, national air toxics
trend stations, and other air toxics and
community monitoring.

$117,500

$38,073

25.9

$4,581

NA

Funding for Enforcement Technology and
Public Information - Communications with ICIS
(OECA) (STAG)

This program provides grants to States, Indian
tribes, and air pollution control agencies to
update their systems to ensure communication
with EPA's Integrated Compliance Information
System and any associated systems.

$3,000

$3,000

0.0

NA

Funding for Enforcement Technology and
Public Information - Compliance Monitoring
(OECA) (STAG)

This program is intended to update EPA's
Integrated Compliance Information System
(ICIS) and any associated systems, necessary
information technology infrastructure, or public
access software tools to ensure access to
compliance data and related information.

$18,000

$10,424

2.1

$374

NA

Funding for Enforcement Technology and
Public Information - Inspection Software
(OECA) (STAG)

This program is intended: (1) to acquire or
update inspection software for use by the EPA,
States, Indian tribes, and air pollution control

$4,000

$3,010

2.7

$405

NA

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agencies; or (2) to acquire necessary devices on
which to run such inspection software.

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Funding for Implementation of the American
Innovation and Manufacturing Act (OAR)

The AIM Act authorizes EPA to address
hydrofluorocarbons (HFCs) by providing new
authorities in three main areas: to phase down
the production and consumption of listed HFCs,
manage these HFCs and their substitutes, and
facilitate the transition to next-generation
technologies through sector-based restrictions.

$20,000

$1,899

el

$198

NA

Funding for Section 211 of the Clean Air Act -
Advanced Biofuels (OAR)

This program provides grants to industry and
other applicable activities to support
investments in advanced biofuels.

$10,000

$241

0.9

$162

NA

Funding for Section 211 of the Clean Air Act -
Test and Protocol Development (OAR)

This program is for the development and
establishment of tests and protocols regarding
the environmental and public health effects of
a fuel or fuel additive

$5,000

$2,780

0.2

$39

NA

Funding to Address Air Pollution at Schools -
General (OAR) (STAG)

This program provides grants and other
activities to monitor and reduce greenhouse
gas emissions and other air pollutants at
schools in low-income and disadvantaged
communities.

$37,500

$2,035

4.0

$712

NA

Funding to Address Air Pollution at Schools -
General (OAR) (STAG)

This program provides technical assistance to
schools in communities to address

$12,500

$11,349

5.1

$923

NA

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environmental issues; to develop school
environmental quality plans that include
standards for school building, design,
construction, and renovation, and to identify
and mitigate ongoing air pollution hazards.

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GHG Air Pollution Implementation Grants
(OAR) (STAG)

This program provides grants to eligible entities
to implement plans developed under GHG Air
Pollution Planning Grants.

$4,750,000

$77,491

139.2

$23,175

NA

GHG Air Pollution Planning Grants (OAR)
(STAG)

This program provides a grant to at least one
eligible entity in each State for the costs of
developing a plan for the reduction of
greenhouse gas air pollution to be submitted
with an application for a GHG Air Pollution
Implementation Grant.

$250,000

$246

40.0

$7,295

NA

GHG and Zero Emission Standards for Mobile
Sources (OAR) (STAG)

This program provides grants to States to
adopt and implement greenhouse gas and
zero-emission standards for mobile sources.

$5,000

$4,015

0.0

NA

Grants to Reduce Air Pollution at Ports (OAR)
(STAG)

The Clean Ports Program funds zero-emission
port equipment and infrastructure as well as
climate and air quality planning at U.S. ports

$2,250,000

$36,556

56.5

$9,847

NA

Grants to Reduce Air Pollution at Ports in
Nonattainment Areas (OAR) (STAG)

The Clean Ports Program funds zero-emission
port equipment and infrastructure as well as
climate and air quality planning at U.S. ports in
nonattainment Areas

$750,000

$12,009

17.3

NA

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Greenhouse Gas Corporate Reporting (OAR)
(STAG)

Supports enhanced standardization and
transparency of corporate climate action
commitments.

Date ee O7/SP-BUDG Number 106-1

$5,000

$5,000

0.0

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$10,640

NA

Greenhouse Gas Reduction Fund -
Administrative Amount (OA, OAR) (STAG)
Supports EPA oversight and management of
the Greenhouse Gas Reduction Fund.

$30,000

$19,358

62.3

$1,503

NA

Greenhouse Gas Reduction Fund - General
Assistance (OA) (STAG)

The Greenhouse Gas Reduction Fund mobilizes
financing and private capital for greenhouse
gas- and air pollution-reducing projects in
communities across the country. This line
accounts for the National Clean Investment
Fund.

$11,970,000

SO

8.4

NA

Greenhouse Gas Reduction Fund - Low Income
and Disadvantage Communities (OA) (STAG)
The Greenhouse Gas Reduction Fund mobilizes
financing and private capital for greenhouse
gas- and air pollution-reducing projects in
communities across the country. This line
accounts for the Clean Communities Investment
Accelerator.

$8,000,000

SO

0.0

NA

Greenhouse Gas Reduction Fund - Zero
Emission Technologies (OA) (STAG)

The Greenhouse Gas Reduction Fund mobilizes
financing and private capital for greenhouse
gas- and air pollution-reducing projects in
communities across the country. This line
accounts for the Solar for All program.

$7,000,000

SO

0.0

$17

NA

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Implementation / Accountability (OAR)
This program carries out core statutory work
and is intended to ensure that reductions in
emissions are achieved through use of the
existing authorities, incorporating the
assessment mentioned above.

$18,000 $4,410 0.1 $2,882 | NA

Implementation and Compliance (OECA)

This program is intended to deploy new
implementation and compliance tools to carry
out the AIM Act.

$3,500 $763 15.8 $19 | NA

Industry Outreach (OAR)

This program provides industry-related
outreach, technical assistance, and
partnerships with respect to reductions in
greenhouse gas emissions that result from
domestic electricity generation and use.

$17,000 $12,275 0.1 $6,470 | NA

Low Embodied Carbon Labeling for
Construction Materials for Transportation
Projects (OCSPP, OAR, ORD)

Improves transparency and disclosure of lower
carbon construction materials and products
throughout the U.S.

$100,000 $70,375 38.1 $13,269 | NA

Methane Emissions and Waste Reduction
Incentive Program - Conventional Wells (OAR)
(STAG)

Helps reduce methane emissions from the oil $700,000 $3,814 9.7 $1,737 | NA
and gas wells by offering financial assistance
and technical assistance to a broad range of
eligible recipients.

Methane Emissions and Waste Reduction
Incentive Program (OAR, OECA) (STAG)
This program provides financial assistance to $850,000 $147,902 75.1 $1,248 | NA
reduce potent methane emissions from the oil
and gas sector.

EPA_00000122
2:25-Ccv-02152-RMG

Methane Monitoring (OAR, ORD) (STAG)

This program provides grants and other
applicable activities for monitoring emissions of
methane to increase available information to
inform choice.

Date ee C7SP-BUDG Number 106-1

$20,000

$18,391

6.8

$224

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NA

Multipollutant Monitoring Stations (OAR)
(STAG)

This program provides grants and other
applicable activities to expand the national
ambient air quality monitoring network with
new multipollutant monitoring stations and to
replace, repair, operate, and maintain existing
monitors.

$50,000

$3,722

1.3

$2,434

NA

State/Tribal/Local Government Outreach
(OAR)

For outreach and technical assistance to State,
Tribal, and local governments with respect to
reductions in emissions in electric generation
and usage.

$17,000

$8,336

0.2

$34

NA

Technical Assistance for Low Income
Communities (OAR)

For outreach and technical assistance to State,
Tribal, and local governments with respect to
reductions in emissions in electric generation
and usage for low-income communities.

$17,000

$1,968

0.9

$159

NA

Total

$41,456,000

$1,559,160

933.0

$185,413

Green-highlighted sections may contravene with Section 2 of the Executive Order. GAO has opened several audits that may have a nexus to IRA

programs in the future.

EPA_00000123
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 53 of 64

Message

From: Gonzalez, Daniel [Gonzalez.Daniel@epa.gov]

Sent: 2/5/2025 12:19:03 PM

To: Boyd, Wyatt [Boyd.Wyatt@epa.gov]; Robinson, Angel [robinson.angel@epa.gov]
Subject: RE: Additional Information on IA and IRA

Attachments: List of Sections.xlsx

Hi Angel and Wyatt. I’m still not quite sure what this translates to for us. Can we resume efforts on the 4 programs listed
below from the attached table, including contracts, payroll, travel, etc.? Can we continue to charge payroll to these
programs beyond February 22? We do not have any IIJA or IRA grants. Thanks for your help.

Drinking Water State Revolving Loan Funds - Emerging Contaminants (CESER)
Drinking Water State Revolving Loan Funds - Lead Service Line Replacement (CESER)
Clean Water State Revolving Loan Funds (CESER)

Clean Water State Revolving Loan Funds - Emerging Contaminants (CEMM)

Daniel K Gonzalez, Senior Budget Officer
Office of Resource Management

Office of Research and Development, US EPA
gonzalez.daniel@epa.gov

w: 202-564-2877

m: 202-617-9112

From: Budget and Planning <Budget_and_Planning@epa.gov>

Sent: Tuesday, February 4, 2025 1:46 PM

To: OCFO-SBO <OCFOSBO@epa.gov>; OCFO-SBO-STAFF <OCFOSBOSTAFF@epa.gov>; OCFO-Regional-Comptroller
<OCFORegionalComptroller@epa.gov>; OCFO-Regional Budget Officers <OCFORegional_Budget_Officers@epa.gov>;
OCFO-SROs <OCFO_SROs@epa.gov>; Regional Mission Support Division - Directors
<Regional_Mission_Support_Division_Directors@epa.gov>; Regional Mission Support Division - Directors
<Regional_Mission_Support_Division_Directors@epa.gov>; OCFO-FCOs <OCFO-FCOs@epa.gov>

Cc: Wise, Melissa <wise.melissa@epa.gov>; Legare, Pamela <Legare.Pamela@epa.gov>; Rogers, JoanB
<Rogers.JoanB@epa.gov>; Coogan, Daniel <Coogan.Daniel@epa.gov>; Kalikhman, Yulia <kalikhman.yulia@epa.gov>;
Gulamali, Adil <Gulamali.Adil@epa.gov>; Lavergne, Dany <lavergne.dany@epa.gov>; Miller, Renee
<Miller.Renee@epa.gov>; Jennette, Vonda <Jennette.Vonda@epa.gov>; Luebbering, Gregory
<luebbering.gregory@epa.gov>; OCFO-OB-ALL. <OCFO-OB-ALL_x@epa.gov>; Talbert-Duarte, Angelia <talbert-
duarte.angelia@epa.gov>; Goerke, Ariadne <Goerke.Ariadne@epa.gov>; Askew, Wendel <Askew.Wendel@epa.gov>;
Holden, Allison <Holden.Allison@ epa.gov>

Subject: Additional Information on INA and IRA

Importance: High

This message provides additional detail to the attached message from the Acting Chief Financial Officer.
Consistent with Court Order, obligations and disbursements to carry out all necessary work can proceed for
all federal financial assistance, including cooperative assistance agreements, all Superfund, and the

accounts attached.

We will continue to keep the community updated as we implement Orders. Please note that effectuation in
agency systems is occurring and requires sequencing.

Please share this information within EPA as necessary to execute.

EPA_00000124
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 54 of 64

This document is produced in native format.

Original file name:

List of Sections.xlsx

EPA_00000125 - EPA_00000126
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 55 of 64

Message

From: Kadeli, Lek [Kadeli.Lek@epa.gov]

Sent: 2/5/2025 2:44:05 PM

To: Walsh, Ed [Walsh.Ed@epa.gov]; Treml, Gregg [Treml.Gregg@epa.gov]; Boyd, Wyatt [Boyd.Wyatt@epa.gov];
Robinson, Angel [robinson.angel@epa.gov]; Wang, Lili [Wang.Lili@epa.gov]; Pollak, Taylor [Pollak. Taylor@epa.gov]

Subject: RE: EPA lifts spending freeze on some environmental funding

Ed —| responded to your teams note.
Regards,
Lek

Lek G. Kadeli

Associate Chief Financial Officer

United States Environmental Protection Agency
Direct Line: 202-860-5804

Kadeli.Lek@EPA.Gov

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From: Walsh, Ed <Walsh.Ed@epa.gov>

Sent: Wednesday, February 5, 2025 9:41 AM

To: Treml, Gregg <Treml.Gregg@epa.gov>; Kadeli, Lek <Kadeli.Lek@epa.gov>; Boyd, Wyatt <Boyd.Wyatt @epa.gov>;
Robinson, Angel <robinson.angel@epa.gov>; Wang, Lili <Wang.Lili@epa.gov>; Pollak, Taylor <Pollak.Taylor@epa.gov>
Subject: Fw: EPA lifts spending freeze on some environmental funding

Hi Gregg, Lek

Wanted to flag that the 4 corners want to schedule a call today on the new memo. Can we get clearance to set
something up.

Thanks
Ed

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From: Mencher, Daniel (Appropriations) <Daniel_ Mencher@appro.senate.gov>

Sent: Tuesday, February 4, 2025 10:00:35 PM

To: Walsh, Ed <Walsh.Ed@epa.gov>; Pollak, Taylor <Pollak.Taylor@epa.gov>

Cc: Zimmerman, Melissa (Appropriations) <Melissa_Zimmerman@appro.senate.gov>; Rita Culp

EPA_00000127
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 56 of 64

<Rita.Culp@mail.house.gov>; Sahgal, Rishi (Appropriations) <Rishi_Sahgal@appro.senate.gov>; Newton, Anna
(Appropriations) <Anna_Newton@appro.senate.gov>; Sarah Peery <sarah.peery@mail.house.gov>; Michael Schmeltz
<Michael.Schmeltz@mail.house.gov>

Subject: Re: EPA lifts spending freeze on some environmental funding

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Jeez Louise. With Taylor Pollack, not Tiffany Taylor.

On Feb 4, 2025, at 9:47 PM, Mencher, Daniel (Appropriations) <Daniel_ Mencher@appro.senate.gov> wrote:

Ed/Tiffany - Are yall cleared to discuss with the Appropriations Committee? If so, can we please get a call - or
the list - asap? Daniel

Begin forwarded message:

From: POLITICO Pro Energy <alert@email.politicopro.com>

Date: February 4, 2025 at 9:43:01 PM EST

To: "Mencher, Daniel (Appropriations)" <Daniel_Mencher@appro.senate.gov>
Subject: EPA lifts spending freeze on some environmental funding

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EPA lifts spending freeze on some environmental
funding

EPA’s Office of Budget will follow up with a detailed list of the programs that should
now receive disbursements.

BY JAMES BIKALES, ZACK COLMAN | 02/04/2025 09:36 PM EST

EPA_00000128
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 57 of 64

“Consistent with the Order, the agency’s financial system will now enable the obligation of financial assistance,” wrote EPA’s acting chief
financial officer. | Mario Tama/Getty Images

The Environmental Protection Agency on Tuesday directed agency officials to allow the
disbursement of funds from at least some programs under the bipartisan infrastructure law and
Inflation Reduction Act that had been paused since Jan. 20, according to an internal memo viewed
by POLITICO.

The memo cites a ruling by a federal judge on Monday that barred agencies from enforcing any
remaining elements of the Trump administration’s spending freeze.

EPA_00000129
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 58 of 64

“Consistent with the Order, the agency’s financial system will now enable the obligation of financial
assistance,” wrote EPA’s acting chief financial officer, Gregg Treml. “This includes programs within
the Infrastructure Investment and Jobs Act and the Inflation Reduction Act, including federal
financial assistance in the State and Tribal Assistance Grants, Brownfields, and Superfund.”

The memo states that EPA’s Office of Budget will follow up with a detailed list of the programs that
should now receive disbursements.

One person who works with states on climate issues said the overwhelming majority of the
unfrozen funding is directed at programs in the bipartisan infrastructure law, according to
documents that person reviewed. That includes funding for restoring estuaries, revolving funds for
states to improve drinking water, remediating brownfield sites and combating contaminants like
PFAS “forever chemicals.” That list included one Inflation Reduction Act program on consumer
education.

That will keep the spending freeze in place for a broad array of funding under the IRA, the Biden
administration’s massive investment aimed at fighting climate change, said Sam Ricketts, co-
founder of S2 Strategies, which works with state governments on climate policies. Ricketts said as
of Tuesday evening that one of the states he works with is still unable to access funding from EPA’s
$7 billion EPA’s Solar for All and its $5 billion climate pollution reduction grant programs.

“They are flagrantly disregarding the law. It is outrageous,” Ricketts said.
EPA did not immediately respond to a request for a comment.

Federal judges in Washington and Rhode Island last week barred the White House from enforcing
a broad spending pause issued by the Office of Management and Budget, which had sparked
widespread chaos before it was rescinded two days later.

But funding for energy and climate-related programs still appeared to be on hold under President
Donald Trump’s Day One executive order suspending disbursement of so-called “green new deal”
funds under the IRA and infrastructure law. Nonprofits and state agencies told the courts that they
still could not access awards funded under the two laws.

In response, U.S. District Judge Loren AliKhan granted a temporary restraining order Monday that
barred the administration from enforcing any remnants of the pause.

In the EPA memo, Treml appears to acknowledge that ruling, noting that the “Court directs that
federal financial assistance shall not be paused based on the Office of Management and Budget’s
direction in the rescinded OMB memorandum or the President’s Executive Orders, while ongoing
litigation proceeds or until otherwise directed by a Court.”

Alex Guillén, Josh Siegel and Kelsey Tamborrino contributed to this report.

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POLITICO, LLC, 1000 Wilson Blvd., Arlington, VA 22209, USA

EPA_00000131
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 60 of 64

Message

From: Walsh, Ed [Walsh.Ed@epa.gov]

Sent: 2/5/2025 2:40:37 PM

To: Treml, Gregg [Treml.Gregg@epa.gov]; Kadeli, Lek [Kadeli.Lek@epa.gov]; Boyd, Wyatt [Boyd.Wyatt@epa.gov];
Robinson, Angel [robinson.angel@epa.gov]; Wang, Lili [Wang.Lili@epa.gov]; Pollak, Taylor [Pollak. Taylor@epa.gov]

Subject: Fw: EPA lifts spending freeze on some environmental funding

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Sent: Tuesday, February 4, 2025 10:00:35 PM

To: Walsh, Ed <Walsh.Ed@epa.gov>; Pollak, Taylor <Pollak.Taylor@epa.gov>

Cc: Zimmerman, Melissa (Appropriations) <Melissa_Zimmerman@appro.senate.gov>; Rita Culp
<Rita.Culp@mail.house.gov>; Sahgal, Rishi (Appropriations) <Rishi_Sahgal@appro.senate.gov>; Newton, Anna
(Appropriations) <Anna_Newton@appro.senate.gov>; Sarah Peery <sarah.peery@mail.house.gov>; Michael Schmeltz
<Michael.Schmeltz@mail.house.gov>

Subject: Re: EPA lifts spending freeze on some environmental funding

Caution: This email originated from outside EPA, please exercise additional caution when deciding
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From: POLITICO Pro Energy <alert@email.politicopro.com>

Date: February 4, 2025 at 9:43:01 PM EST

To: "Mencher, Daniel (Appropriations)" <Daniel_ Mencher@appro.senate.gov>
Subject: EPA lifts spending freeze on some environmental funding

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 61 of 64

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EPA lifts spending freeze on some environmental
funding

EPA’s Office of Budget will follow up with a detailed list of the programs that should
now receive disbursements.

BY JAMES BIKALES, ZACK COLMAN | 02/04/2025 09:36 PM EST

EPA_00000133
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 62 of 64

“Consistent with the Order, the agency’s financial system will now enable the obligation of financial assistance,” wrote EPA’s acting chief
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by POLITICO.

The memo cites a ruling by a federal judge on Monday that barred agencies from enforcing any
remaining elements of the Trump administration’s spending freeze.

EPA_00000134
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 106-1 Page 63 of 64

“Consistent with the Order, the agency’s financial system will now enable the obligation of financial
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Alex Guillén, Josh Siegel and Kelsey Tamborrino contributed to this report.

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